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         EXHIBIT C
                     Case 8:22-cr-00440-PX Document 74-3 Filed 10/30/23 Page 2 of 4
   Message

   From:          Jay Lalezari [drjay@questclinical.com]
   Sent:          4/9/2020 3:49:05 PM
   To:            Kush Dhody [kushd@amarexcro.com]
   CC:            Kazem Kazempour [kazemk@amarexcro.com]; Nader Pourhassan [npourhassan@cytodyn.com]; SCOTT KELLY
                  [skelly02@comcast.net], Bruce Patterson [brucep@incelldx.com]; Jonah Sacha [jonahsacha@gmail.com]
   Subject:       Fwd: 7 Patients Day 7 Complete



   Dear Kush,

   Please see Jeff Murray's bizarre response to the email Nader asked me to send last night. They do not seem to
   appreciate a pattern of cytokine reduction, immune restoration and clinical improvement. Without sounding too
   condescending, I really think we need the simpler and easier to understand graphics that Jonah can put together.

   One point of clarity-Jeff claims that our 7 pts did not fit the definition of "critically ill". First I am not sure why
   it matters whether they were critically (intubated) or severely ill. But second, how many of our 7 patients were,
   in fact, in the ICU and/or intubated?

   Nader has asked me to forge ahead and work with Kevin (director of amfAR) to get these data in front of Fauci.

   I still think we need to start making 100,000 doses/month.
   Jay




   Begin forwarded message:

   From: "Murray, Jeffrey S" <Jeffrey.Murray(c~fda.hhs.gov>
   Subject: RE: 7 Patients Day 7 Complete
   Date: April 9, 2020 at 11:54:39 AM PDT
   To: Jay Lalezari <drjay(a_guestclinical.com>
   Cc: "Birnkrant, Debra B" <Debra.Birnkrant(cfda.hhs.gov>, "Sheikh, Virginia"
   <Virginia.Sheikh(aD-fda.hhs.gov>, "Struble, Kimberly" <Kimberly.Struble(a~fda.hhs.gov>

   Jay,

   Please have the sponsor submit any summary data of EIND patients to their IND for COVID. We are overwhelmed with
   email requests and must ensure that communications get tracked. Based on the data you provided, I don't find any
   "moral" imperative to abandon proceeding with clinical trials, not only for lerolimab but also for the many other drugs
   under investigation. So far I haven't seen anything so compelling that I would be inclined to change course or take
   another type of regulatory action. You have submitted biomarker and clinical summary data in a small number of
   patients, most of whom only required 02 by nasal canula. It is difficult to interpret uncontrolled case series because we
   don't know the counterfactual for this group of patients. There have been multiple reports of case series for products
   such as HCQ +/- Azithromycin and for the 11-6 blockers, which look promising but then other reports where they appear
   to have little effect. In my opinion, leronlimab didn't have the type of compelling nonclinical rationale to give me a
   strong Bayesian prior, so it will take a lot more than a series of 7 patients (who did not fit the definition of critically ill) to
   change my opinion. And excuse me for being blunt, but I think press releases on this type of data can cause false hope
   and look sensational. It is also a risk to the company; they might not be prepared for a stampede of requests that they
   can't handle.




Confidential Treatment Requested by CytoDyn, Inc                                                         CYDY-DOJ-EDATA-00068005
                                                                                                             DOJ-PROD-0002363163
                    Case 8:22-cr-00440-PX Document 74-3 Filed 10/30/23 Page 3 of 4

   Jeff


   From: Jay Lalezari <drjay@questclinical.com>
   Sent: Thursday, April 09, 2020 12:07 AM
   To: Murray, Jeffrey S <Jeffrey.Murray@fda.hhs.gov>
   Cc: Jay Lalezari <drjay@questclinical.com>
   Subject: Fwd: 7 Patients Day 7 Complete

   Dear Jeff,

   This situation just became morally perilous.

   I've attached the 7 day data on the first 7 patients treated with Leronlimab.
   These results are being reformatted for formal submission to FDA tomorrow.
   To any reasonable mind, the lab results confirm that the anecdotal reports of positive clinical outcomes are not random.
   UCLA has given permission for Cytodyn to go public tomorrow with their successful treatment in 6/6 pts treated under
   the EIND program. I'll send a summary of that experience shortly under separate email. Similar individual case reports
   are surfacing elsewhere.

   Cytodyn has about 40,000 doses in stock. With some sort of emergency contingent approval and financing, they can
   manufacture 100,000 doses/month.

   I don't know what the regulatory solution here is. The RCTs have just started to enroll. I am, however, now certain that a
   lot of folks are about to die who likely could be saved.

   I haven't cc'd anyone from Cytodyn or FDA on this email.
   I've always respected your judgement and would like to know what you think is the right and moral next step??
   415-939-0783
   Jay

   Jay Lalezari, MD
   Chief Science Officer
   Cytodyn, Inc.




   From: Nader Pourhassan <npourhassan@cytodyn.com>
   Sent: Wednesday, April 8, 2020 7:41 PM
   To: Jay Lalezari
   Subject: Fwd: 7 Patients Day 7 Complete

   FYI

   With best regards
   Nader

   Sent from my iPhone

   Nader Pourhassan, PhD
   President & CEO




Confidential Treatment Requested by CytoDyn, Inc                                                  CYDY-DOJ-EDATA-00068006
                                                                                                      DOJ-PROD-0002363164
                    Case 8:22-cr-00440-PX Document 74-3 Filed 10/30/23 Page 4 of 4
   1111 Main Street
   Suite 660
   Vancouver, WA 99660
   (503)348-4173
   (360)980-8524



   Begin forwarded message:

   From: Bruce Patterson <brucep@incelldx.com>
   Date: April 8, 2020 at 3:50:53 PM PDT
   To: Nader Pourhassan <npourhassan@cytodyn.com>, Kush Dhody <kushd@amarexcro.com>, SCOTT KELLY
   <skelly02@comcast.net>, Kazem Kazempour <kazemk@amarexcro.com>
   Subject: 7 Patients Day 7 Complete



   Fingers crossed! IL-6 drop is unbelievable. RANTES which is CCL5, the ligand for CCRS, is sky high-this is a RANTES
   disease!!! The lungs are like a garbage can for CCR5 expressing macrophages and T-cells!

   Bruce K. Patterson, MD
   CEO and Founder,
   lncellDx, Inc

              (R "A471n
   Tel: +1.650.777.7630
   Fax: +1.650.587.1528
   www.incelldx.com




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                                                                                                       DOJ-PROD-0002363165
